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                  EXHIBIT 2
         Case 5:12-md-02314-EJD          Document      115-3 Filed 04/06/16
                                           2011-05-24103828869708800.html        Page 2 of 28
What are social plugins? Social plugins are tools that other websites can use to provide people with
personalized and social experiences. When you interact with social plugins, you share your experiences
offFacebook with your friends on Facebook.

The main social plugins include:

   • Like button: Click Like to publicly share and connect with content from other websites that you
     find interesting.
   • Comments box: Publicly comment on another website using your Facebook account.
   • Send button: Click Send to share a link and optional note as a private Facebook message,
     Facebook Group post, or email.
   • Activity Feed: What your friends are liking, commenting on or sharing on a site.
   • Recommendations: Most liked content among your friends on a site.


Watch this video to learn more.

Developers can learn more about implementing these features within a single line of HTML l.!~m.,




                                                                                     FB_MDL_00064899
          Case 5:12-md-02314-EJD          Document      115-3 Filed 04/06/16
                                            2011-05-24186325668085084.html         Page 3 of 28
What information does Facebook receive about me when I visit a website with a Facebook social plug
in? When you visit a partner site, Facebook sees the date and time you visited, the web page you are on
(commonly known as the URL), and other technical information about the IP address, browser, and
operating system you use. This is industry standard data that helps us optimize your experience
depending on which browser you are using or letting us know that you are logged into Facebook.

We also receive a limited amount of data when you visit a site with a social plugin. You can learn more
about the specific types of data we collect here. We keep this data for 90 days. After that, we combine the
data with other people's data in a way that it is no longer associated with you.




                                                                                       FB_MDL_00064900
          Case 5:12-md-02314-EJD          Document      115-3 Filed 04/06/16
                                            2011-05-24 203587239679209.html       Page 4 of 28
How do social plugins work? While social plugins appear on other websites, the content populating them
comes directly from Facebook- so they're just an extension of your Facebook experience. Plugins were
designed so that the website you are visiting receives none of this information.

You only see a personalized experience with your friends if you are logged into your Facebook account.
If you are not already logged in, you will be prompted to log in to Facebook before you can use a plugin
on another site.

At a technical level, social plugins work when external websites put an iframe from Facebook.com on
their sites, as if they were agreeing to give Facebook some real estate on their websites. When you visit
one of these sites, the Facebook iframe can recognize ifyou are logged into Facebook. Ifyou are logged
in, it'll show personalized content within the plugin as if you were on Facebook.com directly. Even
though the iframe is not on Facebook, it is designed with all the privacy protections as if it were.

Watch this video to learn more about the Like button you see on other websites and how social plugins
let you take your friends with you around the web.




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          Case 5:12-md-02314-EJD          Document      115-3 Filed 04/06/16
                                            2011-05-24 212354552120351.html       Page 5 of 28
I am getting a "Cookies are not enabled on your browser" error. If you are using Internet Explorer, please
reset your internet browser's security settings to default. For instructions on how to access your
browser's security settings, please click here.

If the problem persists, please make sure to add "www.facebook.com" as a Trusted Site by following the
instructions on adding secure websites here.




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         Case 5:12-md-02314-EJD          Document      115-3 Filed
                                           2011-06-03 103828869708800.htm I 04/06/16   Page 6 of 28
What are social plugins? Social plugins are tools that other websites can use to provide people with
personalized and social experiences. When you interact with social plugins, you share your experiences
offFacebook with your friends on Facebook.

The main social plugins include:

   • Like button: Click Like to publicly share and connect with content from other websites that you
     find interesting.
   • Comments box: Publicly comment on another website using your Facebook account.
   • Send button: Click Send to share a link and optional note as a private Facebook message,
     Facebook Group post, or email.
   • Activity Feed: What your friends are liking, commenting on or sharing on a site.
   • Recommendations: Most liked content among your friends on a site.


Watch this video to learn more.

Developers can learn more about implementing these features within a single line of HTML l.!~m.,




                                                                                          FB_MDL_00064903
          Case 5:12-md-02314-EJD          Document      115-3 Filed 04/06/16
                                            2011-06-03186325668085084.html         Page 7 of 28
What information does Facebook receive about me when I visit a website with a Facebook social plug
in? When you visit a partner site, Facebook sees the date and time you visited, the web page you are on
(commonly known as the URL), and other technical information about the IP address, browser, and
operating system you use. This is industry standard data that helps us optimize your experience
depending on which browser you are using or letting us know that you are logged into Facebook.

We also receive a limited amount of data when you visit a site with a social plugin. You can learn more
about the specific types of data we collect here. We keep this data for 90 days. After that, we combine the
data with other people's data in a way that it is no longer associated with you.




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          Case 5:12-md-02314-EJD          Document      115-3 Filed
                                            2011-06-03 203587239679209.htm I 04/06/16   Page 8 of 28
How do social plugins work? While social plugins appear on other websites, the content populating them
comes directly from Facebook- so they're just an extension of your Facebook experience. Plugins were
designed so that the website you are visiting receives none of this information.

You only see a personalized experience with your friends if you are logged into your Facebook account.
If you are not already logged in, you will be prompted to log in to Facebook before you can use a plugin
on another site.

At a technical level, social plugins work when external websites put an iframe from Facebook.com on
their sites, as if they were agreeing to give Facebook some real estate on their websites. When you visit
one of these sites, the Facebook iframe can recognize ifyou are logged into Facebook. Ifyou are logged
in, it'll show personalized content within the plugin as if you were on Facebook.com directly. Even
though the iframe is not on Facebook, it is designed with all the privacy protections as if it were.

Watch this video to learn more about the Like button you see on other websites and how social plugins
let you take your friends with you around the web.




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          Case 5:12-md-02314-EJD          Document      115-3 Filed 04/06/16
                                            2011-06-03 212354552120351.html       Page 9 of 28
I am getting a "Cookies are not enabled on your browser" error. If you are using Internet Explorer, please
reset your internet browser's security settings to default. For instructions on how to access your
browser's security settings, please click here.

If the problem persists, please make sure to add "www.facebook.com" as a Trusted Site by following the
instructions on adding secure websites here.




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         Case 5:12-md-02314-EJD         Document     115-3 Filed 04/06/16
                                          2011-06-06115180708570932.html       Page 10 of 28
What does Facebook do with my cookies? We use "cookies" (small files that enable special web features
and that often store information about your account, computer, mobile phone, or other device) to make
Facebook work correctly and easier to use, to make our advertising better, and to protect both you and
Facebook. For example, we use them to store your login ID (but never your password) to make it easier
for you to login whenever you come back to Facebook.

We also use cookies to confirm that you are logged into Facebook, and to know when you are interacting
with Facebook Platform applications and websites, our widgets and Share buttons, and our
advertisements. You can remove or block cookies using the settings in your browser, but in some cases
that may impact your ability to use Facebook.




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         Case 5:12-md-02314-EJD          Document     115-3 Filed 04/06/16
                                           2011-06-13115180708570932.html        Page 11 of 28
What does Facebook do with my cookies?\n We use "cookies" (small files that enable special web
features and that often store information about your account, computer, mobile phone, or other device) to
make Facebook work correctly and easier to use, to make our advertising better, and to protect both you
and Facebook. For example, we use them to store your login ID (but never your password) to make it
easier for you to login whenever you come back to Facebook.

We also use cookies to confirm that you are logged into Facebook, and to know when you are interacting
with Facebook Platform applications and websites, our widgets and Share buttons, and our
advertisements. You can remove or block cookies using the settings in your browser, but in some cases
that may impact your ability to use Facebook.




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         Case 5:12-md-02314-EJD           Document     115-3 Filed 04/06/16
                                            2011-07-15186325668085084.html         Page 12 of 28
What information does Facebook receive about me when I visit a website with a Facebook social plug
in? When you visit a web page with a social plugin, Facebook sees the date and time you visited, the web
page you are on (commonly known as the URL ), and other technical information about the IP address,
browser, and operating system you use. This is industry standard data that helps us optimize your
experience depending on which browser you are using or whether you are logged into Facebook.

We keep this data for 90 days. After that, we combine the data with other people's data in a way that it is
no longer associated with you. You can learn more about the specific types of data we collect here.




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         Case 5:12-md-02314-EJD         Document     115-3 Filed 04/06/16
                                          2011-07-20 103828869708800.html       Page 13 of 28
What are social plugins? Social plugins are tools that other websites can use to provide people with
personalized and social experiences. When you interact with social plugins, you share your experiences
offFacebook with your friends on Facebook.

The main social plugins include:

   • Like button: Click Like to publicly share and connect with content from other websites that you
     find interesting.
   • Comments box: Publicly comment on another website using your Facebook account.
   • Send button: Click Send to share a link and optional note as a private Facebook message,
     Facebook Group post, or email.
   • Activity Feed: What your friends are liking, commenting on or sharing on a site.
   • Recommendations: Most liked content among your friends on a site.


If you're a developer, learn more about implementing these features within a single line ofHTML.




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         Case 5:12-md-02314-EJD         Document     115-3 Filed 04/06/16
                                          2011-08-18103828869708800.html        Page 14 of 28
What are social plugins? Social plugins are tools that other websites can use to provide people with
personalized and social experiences. When you interact with social plugins, you share your experiences
offFacebook with your friends on Facebook.

The main social plugins include:

   • Like button: Click Like to publicly share and connect with content from other websites that you
     find interesting. Leam more.
   • Send button: Click Send to share a link and optional note as a private Facebook message,
     Facebook Group post, or email. Leam more.
   • Comments box: Publicly comment on another website using your Facebook account.
   • Activity Feed: What your friends are liking, commenting on or sharing on a site.
   • Recommendations: Most liked content among your friends on a site.


If you're a developer, learn more about implementing these features within a single line ofHTML.




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         Case 5:12-md-02314-EJD         Document     115-3 Filed 04/06/16
                                          2011-08-31115180708570932.html       Page 15 of 28
What does Facebook do with my cookies? We use "cookies" (small files that enable special web features
and that often store information about your account, computer, mobile phone, or other device) to make
Facebook work correctly and easier to use, to make our advertising better, and to protect both you and
Facebook. For example, we use them to store your login ID (but never your password) to make it easier
for you to login whenever you come back to Facebook.

We also use cookies to confirm that you are logged into Facebook, and to know when you are interacting
with Facebook Platform applications and websites, our widgets and Share buttons, and our
advertisements. You can remove or block cookies using the settings in your browser, but in some cases
that may impact your ability to use Facebook.




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         Case 5:12-md-02314-EJD           Document     115-3 Filed 04/06/16
                                            2011-09-09186325668085084.html         Page 16 of 28
What information does Facebook receive about me when I visit a website with a Facebook social plug
in? When you visit a partner site, Facebook sees the date and time you visited, the web page you came
from (commonly known as the referrer URL), and other technical information about the IP address,
browser, and operating system you use. This is industry standard data that helps us optimize your
experience depending on which browser you are using or whether or not you are logged into Facebook. If
you are logged into Facebook, we also see your user ID number and email address. We only use your
user ID and email address to be able to show you the right social context on that site. For example, when
you go to a partner website, we need to know who you are in order to show you what your Facebook
friends have liked or recommended. If you log out ofFacebook, we will not receive this information
about partner websites but you will also not see personalized experiences on these sites.

We do not share or sell the information we see when you visit a website with a Facebook social plugin to
third parties and we do not use it to deliver ads to you. In addition, we will delete the data (i.e. data we
receive when you see social plugins) associated with users in 90 days. We will keep aggregated and
anonymized data (not associated with specific users) after 90 days for improving our products and
services.




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         Case 5:12-md-02314-EJD         Document     115-3 Filed 04/06/16
                                          2011-09-26115180708570932.html        Page 17 of 28
How does Facebook use cookies? We use "cookies" (small files that enable special web features and that
often store information about your account, computer, mobile phone, or other device) to make Facebook
work correctly and easier to use, to make our advertising better, and to protect both you and Facebook.
For example, we use them to store your login ID (but never your password) to make it easier for you to
login whenever you come back to Facebook.

We also use cookies to confirm that you are logged into Facebook, and to know when you are interacting
with Facebook Platform applications and websites, our widgets and Share buttons, and our
advertisements. You can remove or block cookies using the settings in your browser, but in some cases
that may impact your ability to use Facebook.




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         Case 5:12-md-02314-EJD          Document     115-3 Filed 04/06/16
                                           2011-09-27115180708570932.html          Page 18 of 28
How does Facebook use cookies? We use cookies to make Facebook better and easier to use, to provide
you with a more personalized experience, to improve the ads that you see, and to protect you, others, and
Facebook from malicious activity. For example, we use cookies to store your login ID (but never your
password) so that it's easier for you to log in when you return to the site. We also use cookies to confirm
that you're logged in to Facebook, and to know when you're interacting with Facebook Platform
applications and websites, including websites with the "Like" button or other social plugins, so that we
can show you content from your friends that may interest you.

We do not use cookies to create a profile of your browsing behavior on third-party sites or to show you
ads, although we may use anonymous or aggregate data to improve ads generally.

You can remove or block cookies using the settings in your browser, but in some cases, this may impact
your ability to use Facebook.




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         Case 5:12-md-02314-EJD          Document     115-3 Filed 04/06/16
                                           2011-Q9.-27182104755198570.html        Page 19 of 28
What are cookies? Cookies are small files that store information about your account, web browser,
computer, mobile phone, or other device. Websites often use cookies to enable special features or to
provide you with a better, faster, or safer experience_ You can read more about cookies and their uses
here.




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         Case 5:12-md-02314-EJD          Document      115-3 Filed 04/06/16
                                           2011-09--27 206635839404055.html       Page 20 of 28
Does Facebook receive cookie information when I visit a site with the Like button or another social
plugin? If you've previously received a cookie from Facebook because you either have an account or
have visited facebookcom, your browser sends us information about this cookie when you visit a site
with the "Like" button or another social plugin_ We use this cookie information to help show you a
personalized experience on that site, to help maintain and improve our service, and to protect both you
and Facebook from malicious activity_ As with the other information we receive from your browser, we
do not use this cookie information to create a profile of your browsing behavior on third-party sites, we
delete or anonymize it within 90 days, and we do not sell it to advertisers or share it without your
permtsston_




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         Case 5:12-md-02314-EJD          Document      115-3 Filed 04/06/16
                                           2011-09--27 239530772765713.html       Page 21 of 28
Does Facebook use cookies ifl don't have an account or have logged out of my account? When you log
out ofFacebook, we remove the cookies that identify your particular account, but we do use other
cookies primarily to help keep you and others on Facebook safe and secure. For example, we use cookies
to identify and disable the accounts of spammers and phishers, to prevent people who are underage from
signing up with a false birth date, to help you recover your account if you lose access to it or it's
compromised, to power our opt-in security features like Login Notifications and Login Approvals, and to
help identify public computers so that we can discourage people from using "Keep me logged in." We
may also use anonymized or aggregate information to improve our products.

We also use cookies ifyou don't have a Facebook account, but have visited facebook.com. Again, these
cookies help us protect Facebook and the people who use it from malicious activity. For example, they
help us detect and prevent denial-of-service attacks and the mass creation of fake accounts.

We do not use these cookies to create a profile of your browsing behavior on third-party sites.




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         Case 5:12-md-02314-EJD          Document      115-3 Filed 04/06/16
                                           2011-09--27 293506123997323.html       Page 22 of 28
What information does Facebook receive when I visit a site with the Like button or another social
plugin?? lfyou're logged in to Facebook and visit a website with the Like button or another social
plugin, your browser sends us information about your visit It's important to note that Facebook is not
retrieving this information_ Rather, since the Like button is a little piece ofFacebook embedded on
another website, the browser is sending information about the request to load Facebook content on that
page. We record some of this information for a limited amount of time to help show you a personalized
experience on that site and to improve our products_ For example, when you go to a website with a Like
button, we need to know who you are in order to show you what your Facebook friends have liked on
that site_ The data we receive includes your user ID, the website you're visiting, the date and time, and
other browser-related information_

If you're logged out or don't have a Facebook account and visit a website with the Like button or another
social plugin, your browser sends us a more limited set of information_ For example, because you're not
logged in to Facebook, we don't receive your user ID_ We do receive the web page you're visiting, the
date and time, and other browser-related information_ We record this information for a limited amount of
time to help us improve our products_ For example, we sometimes find bugs in the systems we've built to
gather aggregate data on how people are interacting with sites that use the Like button or other social
plugins_ It's helpful to be able to reference this anonymized information when investigating these bugs so
we can find their source and fix them quickly_

Regardless of whether you are logged in or not, we do not use the information we receive when you visit
a site with the "Like" button or another social plugin to create a profile of your browsing behavior on
third-party sites, and we delete or anonymize it within 90 days_ We also don't sell the information to
advertisers or share it without your permission.




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         Case 5:12-md-02314-EJD          Document     115-3 Filed 04/06/16
                                           2011-09-28186325668085084.html         Page 23 of 28
What information does Facebook receive when I visit a site with the Like button or another social
plugin? If you're logged in to Facebook and visit a website with the Like button or another social plugin,
your browser sends us information about your visit. It's important to note that Facebook is not retrieving
this information. Rather, since the Like button is a little piece ofFacebook embedded on another website,
the browser is sending information about the request to load Facebook content on that page. We record
some of this information for a limited amount of time to help show you a personalized experience on that
site and to improve our products. For example, when you go to a website with a Like button, we need to
know who you are in order to show you what your Facebook friends have liked on that site. The data we
receive includes your user ID, the website you're visiting, the date and time, and other browser-related
information.

If you're logged out or don't have a Facebook account and visit a website with the Like button or another
social plugin, your browser sends us a more limited set of information. For example, because you're not
logged in to Facebook, we don't receive your user ID. We do receive the web page you're visiting, the
date and time, and other browser-related information. We record this information for a limited amount of
time to help us improve our products. For example, we sometimes find bugs in the systems we've built to
gather aggregate data on how people are interacting with sites that use the Like button or other social
plugins. It's helpful to be able to reference this anonymized information when investigating these bugs so
we can find their source and fix them quickly.

Regardless of whether you are logged in or not, we do not use the information we receive when you visit
a site with the "Like" button or another social plugin to create a profile of your browsing behavior on
third-party sites or to show you ads, although we may use anonymous or aggregate data to improve ads
generally. We delete or anonymize the information we receive within 90 days, and we don't sell it to
advertisers or share it without your permission.




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         Case 5:12-md-02314-EJD          Document     115-3 Filed 04/06/16
                                           2011-09-28 293506123997323.html        Page 24 of 28
What information does Facebook receive when I visit a site with the Like button or another social
plugin? If you're logged in to Facebook and visit a website with the Like button or another social plugin,
your browser sends us information about your visit. It's important to note that Facebook is not retrieving
this information. Rather, since the Like button is a little piece ofFacebook embedded on another website,
the browser is sending information about the request to load Facebook content on that page. We record
some of this information for a limited amount of time to help show you a personalized experience on that
site and to improve our products. For example, when you go to a website with a Like button, we need to
know who you are in order to show you what your Facebook friends have liked on that site. The data we
receive includes your user ID, the website you're visiting, the date and time, and other browser-related
information.

If you're logged out or don't have a Facebook account and visit a website with the Like button or another
social plugin, your browser sends us a more limited set of information. For example, because you're not
logged in to Facebook, we don't receive your user ID. We do receive the web page you're visiting, the
date and time, and other browser-related information. We record this information for a limited amount of
time to help us improve our products. For example, we sometimes find bugs in the systems we've built to
gather aggregate data on how people are interacting with sites that use the Like button or other social
plugins. It's helpful to be able to reference this anonymized information when investigating these bugs so
we can find their source and fix them quickly.

Regardless of whether you are logged in or not, we do not use the information we receive when you visit
a site with the "Like" button or another social plugin to create a profile of your browsing behavior on
third-party sites or to show you ads, although we may use anonymous or aggregate data to improve ads
generally. We delete or anonymize the information we receive within 90 days, and we don't sell it to
advertisers or share it without your permission.




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         Case 5:12-md-02314-EJD          Document     115-3 Filed 04/06/16
                                           2011-05-24186325668085084.html         Page 25 of 28
What information does Facebook receive about me when I visit a website with a Facebook social plug
in? When you visit a partner site, Facebook sees the date and time you visited, the web page you are on
(commonly known as the URL), and other technical information about the IP address, browser, and
operating system you use. This is industry standard data that helps us optimize your experience
depending on which browser you are using or letting us know that you are logged into Facebook.

We also receive a limited amount of data when you visit a site with a social plugin. You can learn more
about the specific types of data we collect here. We keep this data for 90 days. After that, we combine the
data with other people's data in a way that it is no longer associated with you.




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         Case 5:12-md-02314-EJD          Document     115-3 Filed 04/06/16
                                           2011-10-17 212354552120351.html        Page 26 of 28
I am getting a "Cookies are not enabled on your browser" error. If you are using Internet Explorer, please
follow these instmctions to reset your internet browser's security settings to default.

If you continue to see this error, make sure to add "www.facebook.com" as a Trusted Site for your
browser. Find out more.




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         Case 5:12-md-02314-EJD         Document     115-3 Filed 04/06/16
                                          2011-11-14190770901006314.html        Page 27 of 28
Social plugins Social plugins are tools that other websites can use to provide people with personalized
and social experiences. When you interact with social plugins, you share your experiences offFacebook
with your friends on Facebook. Learn more.




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         Case 5:12-md-02314-EJD         Document
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                                                      03828869708800.htm            Page 28 of 28
What are social plugins? Social plugins are tools that other websites can use to provide people with
personalized and social experiences. When you interact with social plugins, you share your experiences
offFacebook with your friends and others on Facebook.

The main social plugins include:

   • Like button: Click Like to publicly share and connect with content from other websites that you
     find interesting. Leam more.
   • Send button: Click Send to share a link and optional note as a private Facebook message,
     Facebook Group post, or email. Leam more.
   • Comments box: Publicly comment on another website using your Facebook account.
   • Activity Feed: What your friends are liking, commenting on or sharing on a site.
   • Recommendations: Most liked content among your friends on a site.


If you're a developer, learn more about implementing these features within a single line ofHTML.




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